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UNITED STATES DISTRICT COURT
OF THE SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X
P.F.,                                                                        24-CV-02333 (PMH)
                                    Plaintiff/Petitioner,
                                                                            REQUEST FOR EXTENSION
                  -against-


Y.F.,
                                    Defendant/Respondent,
--------------------------------------------------------------X
                                                                             Dated: July 11, 2024
To the Honorable Court,
       An Order to Show Cause was filed with the court and a date to serve the Respondent was
given for July 15, 2024. However, the Order to Show Cause has not been signed.
        It was mentioned by a court attorney for the Honorable Court that a letter to the Honorable
Court would suffice to request the Honorable Court to sign the Order to Show Cause so that I can
serve the Respondent with the paperwork and the motion before July 15, 2024.
         I am further asking for an extension of time to serve the Respondent in this case.
      I believe all paperwork has been properly filed at this time and I therefore beseech the
Honorable Court to grant this extension for a further 60 days for service.
         The Honorable Court’s understanding is appreciated.
                                                                      Very truly yours,
                                                                      __________________
                                                                      Menachem White, Esq.
